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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9
     JOUREY NEWELL and FELIPE MACHADO,
10
     individually and on behalf of all others similarly
     situated,                                            NO.
11
                                                          CLASS ACTION COMPLAINT
12                          Plaintiffs,
13                                                        DEMAND FOR JURY TRIAL
                    vs.
14
     RECREATIONAL EQUIPMENT, INC., a
15   Washington company,

16                          Defendant.
17

18
            Plaintiffs Jourey Newell (“Newell”) and Felipe Machado (“Machado”) (collectively
19

20   referred to as “Plaintiffs”) bring this class action complaint and demand for jury trial against

21   Defendant Recreational Equipment, Inc. (“REI” or “Defendant”) to stop REI from violating the

22   Electronic Funds Transfer Act, 15 U.S.C. 1693, et seq. (the “EFTA”), and Washington’s unfair
23
     business practices law, RCW 19.86.020, by issuing gift cards that expired earlier than 5 years
24
     after the date on which the gift cards were issued or funds were last loaded, and to otherwise
25
     obtain injunctive and monetary relief for all persons injured by REI’s conduct. Plaintiffs, for
26
     their Complaint, allege as follows upon personal knowledge as to himself and his own acts and
27
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     experiences, and, as to all other matters, upon information and belief, including investigation
 1

 2   conducted by his attorneys.

 3                                        I. INTRODUCTION

 4          1.      In 1978, Congress passed the EFTA to protect consumers by “providing a basic
 5   framework establishing the rights, liabilities, and responsibilities of participants in electronic
 6
     funds transfer systems.” Electronic Fund Transfer Act of 1978, Pub. L. No. 95-630, § 902, 92
 7
     Stat. 3728, 3728 (1978).
 8
            2.      In 2009, Congress passed the Credit Card Accountability, Responsibility and
 9

10   Disclosure Act (the “CARD Act”), amending and extending the EFTA to further protect

11   consumers in connection with their purchase of gift cards and other prepaid cards.

12          3.      Importantly, the EFTA, as amended by the CARD Act, restricts expiration dates
13
     on gift cards for the benefit of consumers, making it a violation to issue a gift card with an
14
     expiration date earlier than 5 years after the date on which the gift card was issued, or the date
15
     on which card funds were last loaded to the gift card. EFTA, 15 U.S.C. § 1693l-1(c).
16
            4.      While the CARD Act has resulted in a significant reduction in gift cards that
17

18   have gone unused, consumers are still deprived of approximately $1 billion in gift card value

19   per year:
20

21

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13           5.       As a result, to deter companies from illegally frustrating consumers’ use of gift

14   cards, companies that are found to have violated the EFTA are liable to consumers for the
15   actual damages they sustained (i.e., the lost value of their gift cards), statutory damages, and
16
     reasonable attorneys’ fees and costs. EFTA, 15 U.S.C. § 1693m(a).
17
             6.       Consistent with the EFTA, in 2004, “to protect consumers,” the Washington
18
     legislature passed a gift card expiration law “prohibit[ing] acts and practices of retailers that
19

20   deprive consumers of the full value of gift [cards], such as expiration dates ….”

21   RCW 19.240.005. Accordingly, imposing expiration dates on gift cards is a per se unfair

22   business practice. See RCW 19.86.093(2).
23
             7.       To deter unfair business practices, companies that are found to have violated
24
     Washington’s unfair business practices law by, among other things, illegally imposing
25

26   1
      CEB Global, Gift Cards State of the Union (https://www.cebglobal.com/content/dam/cebglobal/us/EN/best-
27   practices-decision-support/financial-services/images/infographics/gift-cards-growth-and-risk-in-2015.pdf).

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     expiration dates on gift cards are liable to consumers for up to three times the actual damages
 1

 2   they sustained (i.e., the value of the gift cards of which they have been deprived) and

 3   reasonable attorneys’ fees and costs. RCW § 19.86.090. Washington’s unfair business

 4   practices law also provides for an injunction to enjoin further unfair business practices. Id.
 5
            8.      In this case, Plaintiffs, individually and on behalf of all others similarly situated
 6
     brings claims against REI pursuant to the EFTA and Washington’s unfair business practices
 7
     law for damages and injunctive relief arising from REI’s issuance of gift cards that expire in
 8
     less than 5 years, which unfairly deprived consumers of the full value of those gift cards.
 9

10                                            II. PARTIES

11          9.      Plaintiff Newell is a Pennsylvania resident.

12          10.     Plaintiff Machado is a California resident.
13
            11.     REI is a Washington company headquartered in this District.
14
                                 III. JURISDICTION AND VENUE
15
            12.     This Court has diversity jurisdiction of this action under 28 U.S.C. § 1332(d), as
16
     the aggregate claims of the members of the putative Class exceed $5 million, exclusive of
17

18   costs, and at least two members of the proposed Class are citizens of a different state than REI.

19          13.     This Court has personal jurisdiction over Defendant and venue is proper in this

20   District under 28 U.S.C. § 1391(b) because Defendant resides in this District, and because the
21   wrongful conduct giving rise to this case was directed from this District.
22
                                   IV. COMMON ALLEGATIONS
23
            14.     REI is a sporting goods cooperative owned by its members. Membership in REI
24
     is marketed to the general public for a fee.
25

26

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            15.      As part of its business REI issues an annual divided to members. The annual
 1

 2   dividend is members’ share of the cooperative’s annual profits. Each member receives a

 3   dividend that is a certain percentage of the amount the member spent at REI in the prior year.

 4   If a member has not spent any money at REI in the prior year, the member does not receive a
 5
     dividend.
 6
            16.      The member dividend is distinguished by REI from “rewards from purchases”
 7
     that members can earn by using an REI branded credit card to make purchases.
 8
            17.      REI issues members dividends in the form of a gift card both in paper and
 9

10   electronic form.

11          18.      The gift cards are redeemable only at REI.
12          19.      The gift cards are issued in a specified amount and are not reloadable.
13
            20.      The gift cards are purchased on a prepaid basis in exchange for payment.
14
            21.      The gift cards are honored upon presentation to REI for goods or services.
15
            22.      The gift cards do not include a statement on the front of the cards indicating that
16

17   the cards are issued for loyalty, reward, or promotional purposes.

18          23.      And, most importantly, the gift cards expire earlier than 5 years after the date on

19   which the gift cards are issued, or the date on which funds are last loaded to the gift cards. In
20   fact, every year, on a single day in January every member gift card issued 2 years prior expires.
21
     (For example, in January 2019 every gift card REI issued in March 2017 expired.)
22
            24.      As a result, every year, REI members are deprived of the full value of the gift
23
     cards they paid membership fees and spent money on REI products to receive:
24

25               Hi REI! I've been a member for the better part of a decade. In that time I've
                  really loved your stores and the whole vibe you've had. … Recently however
26                I came across a card buried in my wallet that was a reminder that I had
                  dividends that had expired a few weeks ago. This is when I realized, in the
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                      past year or so I no longer had been asked while I was shopping at your
 1
                      stores if I wanted to use my dividend towards my purchase. … I contacted
 2                    your customer service online (via email) to confirm I indeed had lost my
                      dividend in the prior weeks and why had REI changed it's policy on
 3                    informing members they could apply their dividend to their purchase. As this
                      change in policy would signal an unwillingness for those dividends to be
 4                    spent so they could expire and REI could recoup a potential loss.2
 5
                     Disappointed in @rei. Just went 2 spend my dividend & sales staff said half
 6                    expired 4 days ago.3

 7                                    V. PLAINTIFFS’ ALLEGATIONS

 8              25.      Plaintiff Newell is an REI member who paid a fee to become a member.
 9              26.      In 2015, Plaintiff Newell purchased REI goods, entitling him to a dividend.
10
                27.      In 2016, REI issued Plaintiff Newell a dividend in the form of a gift card.
11
                28.      In early 2018, Newell’s gift card expired.
12
                29.      As a result of the expiration of the gift card, Plaintiff Newell was deprived of the
13

14   unused balance on the gift card.

15              30.      Plaintiff Machado is an REI member who paid a fee to become a member.

16              31.      In 2016, Plaintiff Machado purchased REI goods, entitling him to a dividend.
17
                32.      In 2017, REI issued Plaintiff Machado a dividend in the form of a gift card.
18
                33.      In early 2019, Plaintiff Machado’s gift card expired.
19
                34.      As a result of the expiration of the gift card, Plaintiff Machado was deprived of
20
     the unused balance on the gift card.
21

22

23

24

25
     2
      REI member, Complaint (https://www.facebook.com/REI/posts/hi-rei-ive-been-a-member-for-the-better-part-of-
26   a-decade-in-that-time-ive-really/10156087652496484/).
     3
27       REI member, Complaint (https://twitter.com/rei/status/420266943254642689?lang=en).

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                                     VI. CLASS ALLEGATIONS
 1

 2           35.    Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

 3   and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification

 4   of the following Class:
 5                  All persons in the United States to whom REI issued a member
 6                  dividend in the form of a gift card and whose gift card expired
                    during the relevant limitations period.
 7
             36.    The following individuals are excluded from the Class: (1) any Judge or
 8
     Magistrate presiding over this action and members of their families; (2) Defendant, its
 9

10   subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

11   have a controlling interest and their current or former employees, officers and directors; (3)

12   Plaintiffs’ attorneys; (4) persons who properly execute and file a timely request for exclusion
13
     from the Class; (5) the legal representatives, successors or assigns of any such excluded
14
     persons; and (6) persons whose claims against Defendant have been fully and finally
15
     adjudicated and/or released. Plaintiffs anticipate the need to amend the Class definition
16
     following appropriate discovery.
17

18           37.    Numerosity: On information and belief, there are hundreds, if not thousands of

19   members of the Class such that joinder of all members is impracticable.
20           38.    Commonality and Predominance: There are many questions of law and fact
21
     common to the claims of Plaintiffs and the Class, and those questions predominate over any
22
     questions that may affect individual members of the Class. Common questions for the Class
23
     include, but are not necessarily limited to the following:
24

25                  (a)     whether the form in which REI issues the member dividend constitutes a

26   gift card;

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                    (b)     whether the gift cards have an impermissible expiration date;
 1

 2                  (c)     whether Defendant’s conduct constitutes a violation of the EFTA;

 3                  (d)     whether Defendant’s conduct constitutes a violation of Washington’s

 4   unfair business practices law; and
 5
                    (e)     whether members of the Class are entitled to statutory damages and/or
 6
     treble damages in addition to actual damages, attorneys’ fees, and costs.
 7
            39.     Adequate Representation: Plaintiffs will fairly and adequately represent and
 8
     protect the interests of the Class, and have retained counsel competent and experienced in class
 9

10   actions. Plaintiffs have no interests antagonistic to those of the Class, and Defendant has no

11   defenses unique to Plaintiffs. Plaintiffs and their counsel are committed to vigorously
12   prosecuting this action on behalf of the members of the Class, and have the financial resources
13
     to do so. Neither Plaintiffs nor their counsel has any interest adverse to the Class.
14
            40.     Appropriateness: This class action is also appropriate for certification because
15
     Defendant has acted or refused to act on grounds generally applicable to the Class, thereby
16

17   requiring the Court’s imposition of uniform relief to ensure compatible standards of conduct

18   toward the members of the Class and making final class-wide injunctive relief appropriate.

19   Defendant’s business practices apply to and affect the members of the Class uniformly, and
20   Plaintiffs’ challenge of those practices hinges on Defendant’s conduct with respect to the Class,
21
     not on facts or law applicable only to Plaintiffs. Additionally, the damages suffered by
22
     individual members of the Class will likely be small relative to the burden and expense of
23
     individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it
24

25   would be virtually impossible for the members of the Class to obtain effective relief from

26

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     Defendant’s misconduct on an individual basis. A class action provides the benefits of single
 1

 2   adjudication, economies of scale, and comprehensive supervision by a single court.

 3                               VII. FIRST CAUSE OF ACTION
                                    Electronic Funds Transfer Act
 4                               (Violations of 15 U.S.C. 1693, et seq.)
                             (On Behalf of Plaintiff Machado and the Class)
 5

 6          41.     Plaintiff Machado repeats and realleges paragraphs 1 through 40 of this

 7   complaint and incorporates them by reference.
 8          42.     The EFTA, as amended by the CARD Act, restricts expiration dates on gift
 9
     cards, making it a violation to issue a gift card with an expiration date earlier than 5 years after
10
     the date on which the gift card was issued, or the date on which card funds were last loaded to
11
     the gift card. EFTA, 15 U.S.C. § 1693l-1(c).
12

13          43.     REI issued gift cards to Plaintiff Machado and members of the Class that were

14   subject to expiration dates earlier than 5 years after the dates on which they were issued, or the

15   dates on which funds were last loaded to the gift cards.
16          44.     In doing so, REI deprived Plaintiffs and Class members of the unused balance of
17
     any gift cards that expired.
18
            45.     As a result, REI has violated the EFTA, and, pursuant to 15 U.S.C. § 1693m,
19
     Plaintiff Machado and members of the Class are entitled to actual damages and statutory
20

21   damages to be determined by the Court, as well as reasonable attorneys’ fees, the cost of this

22   action, and all other relief available under the EFTA.

23

24

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                               VIII. SECOND CAUSE OF ACTION
 1
                               Washington Unfair Business Practices Law
 2                                   (Violation of RCW 19.86.020)
                              (On Behalf of Plaintiff Newell and the Class)
 3
             46.     Plaintiff Newell repeats and realleges the paragraphs 1 through 40 of this
 4
     complaint and incorporates them by reference.
 5

 6           47.     Washington’s gift certificate law restricts expiration dates on gift cards, making

 7   it a violation to issue a gift card with any expiration date.
 8           48.     Washington’s unfair business practices law prohibits unfair business practices
 9
     including violations of Washington’s gift certificate law.
10
             49.     REI issued gift cards to Plaintiff Newell and members of the Class that were
11
     subject to expiration dates.
12

13           50.     In doing so REI deprived Plaintiff Newell and Class members of the unused

14   balance of any gift cards that expired.

15           51.     As a result, REI has violated Washington’s unfair business practices law, and,
16   pursuant to RCW 19.86.090, Plaintiff Newell and members of the Class are entitled to actual
17
     damages that may be trebled by the Court and injunctive relief, as well as reasonable attorneys’
18
     fees, the cost of this action, and all other relief available under Washington’s consumer
19
     protection statutes.
20

21                                    IX. PRAYER FOR RELIEF

22           WHEREFORE, Plaintiffs, individually and on behalf of the Class, pray for the

23   following relief:
24           a)      An order certifying the Class as defined above, and appointing Plaintiffs as the
25
     representatives of the Class and their attorneys as Class Counsel;
26

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            b)      An award of actual damages, trebled actual damages, statutory damages,
 1

 2   reasonable attorneys’ fees, and costs;

 3          c)      An order declaring that REI’s actions, as set out above, violate the EFTA and

 4   Washington’s gift certificate and unfair business practices laws;
 5
            d)      An injunction requiring Defendant to cease issuing member dividends in the
 6
     form of gift cards with an expiration date; and
 7
            e)      Such further and other relief as the Court deems just and proper.
 8
                                           X. JURY DEMAND
 9

10          Plaintiffs request a jury trial.

11          RESPECTFULLY SUBMITTED AND DATED this 3rd day of May, 2019.

12                                             TURKE & STRAUSS LLP
13
                                               By:     /s/ Samuel J. Strauss, WSBA #46971
14                                                   Samuel J. Strauss, WSBA #46971
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18                                             Attorneys for Plaintiffs

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